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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
DAWN MARIE SULLIVAN
Plaintiff,
v. LT Case No.: 201 1-CA-2727
WAL-MART STORES EAST, LP
Defendant.
/
NOTICE OF REMOVAL

DEFENDANT, WAL-MART STORES EAST, LP (“WAL-MART”), by and through its
undersigned attomey, pursuant to 28 U.S.C. §1446(a) hereby files this Notice of Removal from
the Circuit Court of the Sixth Judicial Circuit, in and for Pasco County, Florida, based on
diversity jurisdiction as set forth in 28 U.S.C, §1332(a), and in support thereof states:

1. Wal-Mart is a foreign corporation, which for the purposes of diversity
jurisdiction under 28 U.S.C. 1332(c)(1) was at the time the above captioned action was filed in
State Court a “resident” of Bentonville, Arkansas and remains a resident of Bentonville,
Arkansas as of the date of this Notice of Removal.

2. Plaintiff alleges in her Complaint that she is a resident of Florida.

3. Wal-Mart is a foreign corporation whose state of incorporation is Arkansas and
who maintains its principle place of business in Bentonville, Arkansas.

4, The Plaintiff seeks money damages for alleged personal injuries that exceed

$75,000.00. Wal-Mart specifically denies the Plaintiff's entitlement to said damages.
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5. Copies of all Pleadings filed in the State Court matter to be removed are hereby
attached hereto as composite Exhibit “A”

THEREFORE, Wal-Mart respectfully requests the removal of the case entitled Dawn
Sullivan v. Wal-Mart Stores, East, LP from the Sixth Judicial Circuit, in and for Pasco County,
Florida to the United States District Court for the Middle District of Florida, Tampa, Division.

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was sent via U.S. Mail to

Matthew E. Noyes, Esq., 1875 North Belcher Road, Suite 201, Clearwater, FL 33765 on July 15,

bo X62

Andrew S. Bolin, Esquire
Florida Bar No.: 0569097

Renee D. Faried, Esquire
Florida Bar No. 0084977

Post Office Box 1772

Tampa, Florida 33601-1772
Telephone: (813) 226-3000
Facsimile: (813) 226-3001
Counsel for Defendant, Wal-Mart

2011.
Case 8:11-cv-01597-MAP Document1 Filed 07/18/11 Page 3 of 10 PagelD 3

{N THE CIRCUIT COURT IN AND FOR PASCO COUNTY, FLORIDA
CASENO.:: 512011CA 2727ES

 

DAWN MARIE SULLIVAN,

Plaintiff, we aod!
vs. MN

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WAL-MART STORES, INC., $° do

Defendant..

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SUMMONS

THE STATE OF FLORIDA
To Each Sheriff on the State: oy . --

YOU ARE COMMANDED to serve this summons and a copy of the Complaint or Petition in
this action on Defendant:

WAL-MART STORES, INC.

CT Corporation System, Registered Agent
1200 South Pine Island Road

Plantation, Florida 33324

Each Defendant is required to serve written defenses to the complaint or petition on:

Matthew E, Noyes, Esquire
Perenich, Caulfield, Avril & Noyes, P.A.
1875 North Belcher Road, Suite 201
Clearwater, FL 33765

- Attomeys for Plaintiff

within twenty (20) days after service of this summons on that defendant, exclusive of the day of service,
and to file the original of the defenses with the clerk of this court either before service on plaintiff's
attomey or immediate thereafter. If a defendant fails to do so, a default will be entered against that
defendant for the relief demanded in the complaint or petition.

WITNESS my hand and the seal of this Court on _&x 7.0 day of AL) UA , 2011,
PACA. OWEITULERR'S COMPTROLLER

(SEAL) By Is} Beatriz Powell
Deputy Clerk

 

DEFENDANT'S

at
Case 8:11-cv-01597-MAP Document1 Filed 07/18/11 Page 4 of 10 PagelD 4

IN THE CIRCUIT COURT IN AND FOR PASCO, FLORIDA

 

CASE NO.:

DAWN MARIE SULLIVAN,

Plaintiff,
VS. ‘ a?
WAL-MART STORES, INC.,

b -j4 -{t
Defendant. / ¢: yor"
COMPLAINT

Plaintiff, DAWN MARIE SULLIVAN, by and through the undersigned attomeys,
sues the Defendant, WAL-MART STORES, INC., and complains as follows:

1, This is an action for damages in excess of Fifteen Thousand Dollars
($15,000.00) exclusive of costs.

2. That at all times material hereln, Defendant, WAL-MART STORES, INC.,
was the owner and/or operator of the premises located at 7631 Gall Boulevard,
Zephyrhills, Pasco County, Florida.

3. That at ail times material herein, sald premises was being operated as a
retail store open to the public.

4. That on or about August 4, 2009, Plaintiff, DAWN MARIE SULLIVAN, was
an invitee on the aforementioned premises to purchase pet supplies.

5. That on August 4, 2009, the Defendant, WAL-MART STORES, INC.,
and/or its employees, agents or representatives, negligently caused or permitted a
hazardous condition, to wit: water or other liquid on the floor near the restrooms near

the exit which was not open and obvious to the patrons.
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6. On August 4, 2009, the Plaintiff, DAWN MARIE SULLIVAN, paid for her
items and was exiting the aforesaid premises when, without warming, she slipped on a
wet floor near the restrooms close to the exit.

7. The presence water or other liquid on the floor in a traffic area In which the
Plaintiff slipped constituted a dangerous condition in that It created an unnecessary and
unreasonable hazard in an area likely to be traversed by invitees.

8. Defendant, WAL-MART STORES, INC., knew, or in the exercise of
reasonable care, should have known of the dangerous condition on its premises, and
was under a duty to maintain and provide a reasonably safe walkway for invitees of the
Defendant |

9. Defendant, WAL-MART STORES, INC., failed to exercise reasonable care
in the following particulars:

(a} Allowed the dangerous condition to exist for a long enough period
of time that the Defendants knew, or by the exercise of reasonable
care should have known, of the existence of the sald dangerous

condition and yet failed to exercise reasonable care in correcting
the condition.

(b)  Falled to warn of the dangerous condition when the defendant
knew or in the exercise of reasonable care and diligence should
have been aware of the hazardous condition.

‘(c) Failed to remove the water or other liquid from the floor in the area
traveled by Plaintiff.

(d) Failed to maintain their floors in such a way to prevent the

possibility of patrons from slipping on spilled liquids in an area
walked by business invitees.

10. That as a direct and proximate result of the conduct of the Defendant, WAL-

MART STORES, INC., its employees, agents and/or representatives, as alleged, the

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Plaintiff, DAWN MARIE SULLIVAN, was injured; and the Plaintiff has sustained the

following past and future damages:

(a)
(b)
(c)
(d)
(e)
(f)

(9)
(h)
(i)

Bodily injury;

Pain and suffering; .

Disability;

Mental anguish;

Disfigurement;

Loss of capacity for the enjoyment of life;

Loss or diminution of eamings or earning capacity;

Medical and related expenses in seeking a cure for the injuries;

Aggravation of previously existing conditions or diseases.

WHEREFORE, Plaintiff demands a trial by Jury and a judgment against the

Defendant, WAL-MART STORES, INC., for an amount within the jurisdictional limits of

this Court to-wit more than Fifteen Thousand Dollars ($15,000.00) plus costs and interest

from the date of the incident alleged herein.

MA
Dated this _\"\"_ day of May, 2011. |

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PERENICH, CAULFIELD,

   
  

 

. NOYES, ESQUIRE
1875 North Belcher Road, Suite 201
Clearwater, FL 33765

(727) 796-8282; Fax (727) 797-3667
FBN: 0081515

Attorneys for Plaintiff
Case 8:11-cv-01597-MAP Document1 Filed 07/18/11 Page 7 of 10 PagelD 7

IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PASCO COUNTY, FLORIDA

 

CIVIL DIVISION

DAWN MARIE SULLIVAN

Plaintiff,
v. Case No.: 2011-CA-2727
WAL-MART STORES, INC.

Defendant.

/
NOTICE OF APPEARANCE

YOU WILL PLEASE ENTER the name of the undersigned as attomey of record for
Defendant, WAL-MART STORES, INC. The undersigned respectfully requests that all future

pleadings and correspondence be directed to the undersigned as counsel for Defendant.

CERTIFICATE OF SERVICE
I hereby certify that 2 true and correct copy of the foregoing was sent via facsimile and
U.S. Mail to Matthew E. Noyes, Esq., 1875 North Belcher Road, Suite 201, Clearwater, FL
33765 on July 5, 2011. |

  

 

Andrew S, Bolin, Esquire
Florida Bar No.: 0569097
Renee D. Faried, Esquire
Fiorida Bar No, 0084977
Post Office Box 1772
Tampa, Florida 33601-1772
Telephone: (813) 226-3000
Facsimile: (813) 226-3001
Counsel for Defendant, Wal-Mart

 

 

 
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IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
IN AND FOR PASCO COUNTY, FLORIDA
CIVIL DIVISION

DAWN MARIE SULLIVAN

Plaintiff,

v. Case No.: 2011-CA-2727

WAL-MART STORES, INC.

Defendant.
/

DEFENDANT'S REQUEST FOR ADMISSIONS TO PLAINTIFF
The Defendant, WAL-MART STORES, INC., by and through its undersigned counsel,
hereby requests that the Plaintiff, DAWN MARIE SULLIVAN, admit or deny the following
Request for Admissions within thirty (30) days from the date of service hereof, pursuant to Rule
1.370 of the Florida Rule of Civil Procedure:
1. Admit Plaintiff is a resident of Florida for all times material to the incident that
makes up the basis for the Complaint and is presently a resident of Florida.

2. Admit that Plaintiff is alleging damages in excess of $75,000.00.

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was sent via facsimile and

U.S. Mail to Matthew E. Noyes, Esq., 1875 North Belcher Road, Suite 201, Clearwater, FL

Andrew S. Bolin, Esquire
Florida Bar No.: 0569097
Renee D. Faried, Esquire
Florida Bar No. 0084977
Post Office Box 1772
Tampa, Florida 33601-1772
Telephone: (813) 226-3000
Facsimile: (813) 226-3001
Counsel for Defendant, Wal-Mart

33765 on July 5, 2011.

  

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IN THE CIRCUIT COURT IN AND FOR PASCO, FLORIDA
CASE NO.: 2011-CA-2727

DAWN MARIE SULLIVAN,
Plaintiff,

vs.

WAL-MART STORES EAST, LP,

Defendant.
/

PLAINTIFF'S RESPONSE TO DEFENDANT'S REQUEST FOR ADMISSIONS
COMES NOW, Plaintiff, DAWN MARIE SULLIVAN, by and through her
undersigned attorney, and pursuant to the applicable Florida Rules of Civil Procedure,
and responds to Defendant's First Request for Admissions to Plaintiff as follows:
1, Admitted.
2. Admitted.
CERTIFICATE OF SERVICE
| HEREBY CERTIFY that a true and correct copy of the foregoing was sent via
US Mail this Gay of July, 2011 to: Renee D. Faned, Esq., Beytin McLaughlin, et
al., PO Box 1772, Tampa, FL 33601-1772.

PERENICH, CAULFIELD,
AVRIL & NOYES, P.A.

   

 

EW EY NOYES, ESQUIRE
1875 North Belcher Road, Suite 201
Clearwater, FL 33765

(727) 796-8282; Fax (727) 797-3667
FBN: 0081515

Attomeys for Plaintiff

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